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                            UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW JERSEY


SHAROMINE A. MARTIN,                          Civil Action No. 3:21-cv-19011 (FLW)(RLS)

                   Plaintiff,

v.                                           STIPULATION OF DISMISSAL WITH
                                             PREJUDICE AND WITHOUT COSTS
EDUCATIONAL TESTING SERVICE,

                  Defendant.


       IT IS HEREBY stipulated and agreed by and between the undersigned, Plaintiff

Sharomine A. Martin and counsel for Defendant Educational Testing Service, that the Complaint

and all claims asserted in the above-captioned matter against the Defendant are dismissed with

prejudice and without costs, expenses, or attorneys’ fees being awarded to any party.


SHAROMINE A. MARTIN                               K&L GATES LLP
Plaintiff                                         Counsel for Defendant
                                                  Educational Testing Service


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Dated: July 7,2022                                Dated: July 7,2022
